
In re Patin, Morris J.;—Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. G, No. 434-092; to the Court of Appeal, Fourth Circuit, No. 2010-KA-0529.
Denied. However, with time now of the essence if trial is to serve as “a reliable vehicle for determining whether [defendants] committed the crime charged against them,” State v. Dyer, 06-0619, p. 6, 933 So.2d 788, 792, cert. denied sub nom. Thomas v. Louisiana, 549 U.S. 1122, 127 S.Ct. 945, 166 L.Ed.2d 722 (2007), the state is directed to bring the case against defendants to trial as expeditiously as possible and within the 45-day time frame set by the court of appeal.
